                      UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                       : No. 1:23-bk-00988-HWV
    UPTOWN PARTNERS, LP                      :
         Debtor                              :     Chapter 11

       I, Jacob Laughman, a paralegal with the law firm of Cunningham, Chernicoff &

Warshawsky, P.C., hereby certify that on July 22, 2024, a true and correct copy of the foregoing

Motion for Order Authorizing Examination of a Representative for the City of Harrisburg and

Directing the Production of Documents Pursuant to Bankruptcy Rule 2004 was served by

electronic means and/or first-class mail, postage prepaid on the following:


Landex Management                                    City of Harrisburg
Barry A. Solodky, Esquire                            Neil Grover, Esquire
280 Granite Run Drive, Suite 300                     City of Harrisburg
Lancaster, PA 17601                                  Martin Luther King, Jr. City Government
                                                     Center
City of Harrisburg                                   10 North Second Street, Suite 402
Clayton W. Davidson, Esquire                         Harrisburg, PA 17101
McNees Wallace & Nurick LLC
100 Pine Street, PO Box 1166                         Peter Siegel
Harrisburg, PA 17108-1166                            Landex Development
                                                     4030 Rhode Island Avenue
                                                     Brentwood, MD 20722

                                                     Joseph P. Schalk, Esquire
                                                     Office of the United States Trustee
                                                     Middle District of Pennsylvania
                                                     1501 North 6th Street, Box 302
                                                     Harrisburg, PA 17102


                                             CUNNINGHAM, CHERNICOFF &
                                             WARSHAWSKY, P.C.



                                             By: /s/ Jacob Laughman
                                             Jacob Laughman, Paralegal




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